             Case 1:16-cv-10015-IT Document 1 Filed 01/06/16 Page 1 of 5



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Brent Watkins,                                     :
                                                   : Civil Action No.: 1:16-cv-10015
                        Plaintiff,                 :
        v.                                         :
                                                   :
Donna A. Daniels Law Offices, P.C.; and            : COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :

                For this Complaint, the Plaintiff, Brent Watkins, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ violation of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) in their illegal efforts to collect a consumer

debt.

        2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        3.      The Plaintiff, Brent Watkins (“Plaintiff”), is an adult individual residing in

Peabody, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        4.      Defendant Donna A. Daniels Law Offices, P.C. (“Defendants”), is a

Massachusetts business entity with an address of 1988 Centre Street, West Roxbury, MA 02132,

operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6).
              Case 1:16-cv-10015-IT Document 1 Filed 01/06/16 Page 2 of 5



        5.      Does 1-10 (the “Collectors”) are individual collectors employed by Defendants

and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may

be joined as parties once their identities are disclosed through discovery.

        6.      Defendants at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

        7.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to Boston

University (the “Creditor”).

        8.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meet the definition of a “debt” under

15 U.S.C. § 1692a(5).

        9.      The Debt was purchased, assigned or transferred to Defendants for collection, or

Defendants were employed by the Creditor to collect the Debt.

        10.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Defendants Engage in Harassment and Abusive Tactics

        11.     In or around July 2015, Defendants called Plaintiff in an attempt to collect the

Debt.

        12.     Plaintiff informed Defendants that he was being represented by Lemberg Law,

LLC, that a legal action had been filed and was pending against a previous debt collector

collecting on the Debt, and that Plaintiff wished to wait for resolution of the pending lawsuit

before making any payments.




                                                 2
             Case 1:16-cv-10015-IT Document 1 Filed 01/06/16 Page 3 of 5



       13.     On a subsequent call to Plaintiff, Defendant stated that it had researched Lemberg

Law, LLC and that it was not a legitimate or registered company or law firm, and that Plaintiff

should therefore pay the Debt.

       14.     Lemberg Law, LLC is a legitimate law firm with attorneys barred and registered

in the Commonwealth of Massachusetts.

       15.     Defendant’s false statement to Plaintiff regarding the legitimacy of his attorneys

was made in a coercive attempt to collect the Debt from Plaintiff.

   C. Plaintiff Suffered Actual Damages

       16.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       17.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                  COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       18.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       19.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(2) in that Defendants

communicated with Plaintiff in connection with the collection of the Debt while knowing the

consumer was represented by an attorney with respect to the Debt.

       20.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.




                                                 3
              Case 1:16-cv-10015-IT Document 1 Filed 01/06/16 Page 4 of 5



        21.     The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading representation or means in connection with the collection of a

debt.

        22.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        23.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

        24.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        25.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                     PRAYER FOR RELIEF

                WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                   4. Punitive damages; and

                   5. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: January 6, 2016




                                                  4
Case 1:16-cv-10015-IT Document 1 Filed 01/06/16 Page 5 of 5



                          Respectfully submitted,

                          By       /s/ Sergei Lemberg

                          Sergei Lemberg (BBO# 650671)
                          LEMBERG LAW, L.L.C.
                          43 Danbury Road
                          Wilton, CT 06897
                          Telephone: (203) 653-2250
                          Facsimile: (203) 653-3424
                          Attorneys for Plaintiff




                               5
